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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE t;-;_i 9 H_ . _`
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UNITED STATES OF AMERICA md

-vs- Case No. 2:05cr20144-1-Ml

ANGELINA GRANATA

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a bond revocation hearing is set for
FRIDAY, JUNE 24, 2005 at 3:00 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearingl

Daie; June 21, 2005 k
A_/\_,

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

'Ii` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1‘](2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1‘) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a heating is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, orintimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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UNITED sTATE ISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

L. Daniel Johnson

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David Charles Henry

U.S. ATTORNEY'S OFFICE
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Ste. 800

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Honorable J on l\/lcCalla
US DISTRICT COURT

